Case No. 1:20-cv-00078-CMA-KAS Document 142-18 filed 10/20/23 USDC Colorado pg 1
                                     of 6
     Case No. 1:20-cv-00078-CMA-KAS Document 142-18 filed 10/20/23 USDC Colorado pg 2
                                          of 6


·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2· · · · · · · · ·FOR THE DISTRICT OF COLORADO
·3· · · · · · CIVIL ACTION NO. 1:20-CV-00078-CMA-SKC
·4
·5· · ·A.C., AS PARENT OF MINOR AND NEXT FRIEND AND S.T.C.,
·6· · · · · · · · · · · · · Plaintiffs
·7
·8· · · · · · · · · · · · · · · V.
·9
10· · · ·JEFFERSON COUNTY R1 SCHOOL DISTRICT, JEFF GOMEZ,
11· · · ·INDIVIDUALLY, AND WILLIAM CARLIN, INDIVIDUALLY,
12· · · · · · · · · · · · · Defendants
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14· · · · · · · · · · · · ·CONFIDENTIAL
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23· ·DEPONENT:· JEFFREY GOMEZ
24· ·DATE:· · · MAY 11, 2022
25· ·REPORTER:· DANIELLE GARBO
     Case No. 1:20-cv-00078-CMA-KAS Document 142-18 filed 10/20/23 USDC Colorado pg 3
                                          of 6


·1· · · · · · · · · · · · ·APPEARANCES
·2
·3· ·ON BEHALF OF THE PLAINTIFFS, A.C., AS PARENT OF MINOR
·4· ·AND NEXT FRIEND AND S.T.C.:
·5· ·Edward Milo Schwab, Esquire
·6· ·Ascend Counsel, LLC
·7· ·2401 South Downing Street
·8· ·Denver, Colorado 80210
·9· ·Telephone No.: (303) 888-4407
10· ·E-mail: milo@ascendcounsel.co
11
12· ·ON BEHALF OF THE DEFENDANTS, JEFFERSON COUNTY R1 SCHOOL
13· ·DISTRICT, JEFF GOMEZ, INDIVIDUALLY, AND WILLIAM CARLIN,
14· ·INDIVIDUALLY:
15· ·Gwyneth Whalen, Esquire
16· ·Elliott V. Hood, Esquire
17· ·Caplan and Earnest LLC
18· ·3107 Iris Avenue
19· ·Suite 100
20· ·Boulder, Colorado 80203
21· ·Telephone No.: (303) 443-8010
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25
     Case No. 1:20-cv-00078-CMA-KAS Document 142-18 filed 10/20/23 USDC Colorado pg 4
                                          of 6


·1· · · · · · · · · · · · · · ·INDEX
·2· · · · · · · · · · · · · · · · · · · · · · · · Page
·3· ·PROCEEDINGS· · · · · · · · · · · · · · · · · · 5
·4· ·DIRECT EXAMINATION BY MR. SCHWAB· · · · · · · ·5
·5
·6· · · · · · · · · · · · · ·EXHIBITS
·7· ·Exhibit· · · · · · · · · · · · · · · · · · · Page
·8· ·53 - Discipline Matrix· · · · · · · · · · · · 48
·9· ·54 - Student Discipline & Intervention· · · · 53
10· · · · Process
11· ·55 - Email to Allison MacDonald· · · · · · · ·76
12
13
14
15
16
17
18
19
20
21
22
23
24
25
     Case No. 1:20-cv-00078-CMA-KAS Document 142-18 filed 10/20/23 USDC Colorado pg 5
                                          of 6


·1· · · · · · · · · · · · ·STIPULATION
·2
·3· ·The deposition of JEFFREY GOMEZ was taken at CAPLAN &
·4· ·EARNEST LLC 3107 IRIS AVENUE SUITE 100 BOULDER, COLORADO
·5· ·80301 on WEDNESDAY, the 11th day of MAY 2022, at
·6· ·approximately 9:04 a.m.; said deposition was taken
·7· ·pursuant to the FEDERAL Rules of Civil Procedure.
·8
·9· ·It is agreed that DANIELLE GARBO, being a Notary Public
10· ·and Court Reporter for the State of COLORADO, may swear
11· ·the witness and that the reading and signing of the
12· ·completed transcript by the witness is not waived.
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   Case No. 1:20-cv-00078-CMA-KAS Document 142-18 filed 10/20/23 USDC Colorado pg 6
                                        of 6


·1· ·primary way you would address it --
·2· · · · A· · Yes.
·3· · · · Q· · -- is to go into classrooms?
·4· · · · A· · Or pull them collectively as a grade level.
·5· · · · Q· · Okay.· How did you investigate these rumors?
·6· · · · A· · I didn't investigate rumors because nobody
·7· ·came forth saying that it was happening.· We would look
·8· ·at some video if we could.· If we had the time.· But you
·9· ·know, I guess for me, when I -- when every classroom
10· ·were at the end, I said, "If this is happening to you,
11· ·come talk to us."· And again, no one came forth, so we
12· ·didn't investigate rumors.· We didn't have time to do
13· ·that.· So again, getting in front of everybody get --
14· ·and what I did worked because we didn't hear about it
15· ·anymore for the remainder of that school year.· So --
16· ·but we didn't investigate rumors.
17· · · · Q· · Okay.· Did you ever have any conversations
18· ·with SRO Davis about this?
19· · · · A· · I have no idea who SRO Davis is.
20· · · · Q· · Okay.· Who was the first SRO when you were --
21· ·became principal?
22· · · · A· · Bobbi -- I don't remember her last name.
23· · · · Q· · Dawkins?
24· · · · A· · Dawkins, yeah.
25· · · · Q· · Did you ever have a conversation with Officer
